 Case: 2:20-cv-00931-MHW-KAJ Doc #: 1 Filed: 02/20/20 Page: 1 of 16 PAGEID #: 1




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO

SPENCER NEAL,                                 )      CASE NO.:
                                              )
               Plaintiff,                     )      CIVIL RIGHTS
                                              )
       vs.                                    )      COMPLAINT FOR INJUNCTIVE
                                              )      RELIEF AND DAMAGES:
J A G BLACK GOLD MANAGEMENT                   )
COMPANY,                                      )      1ST CAUSE OF ACTION:​ For Denial of
d/b/a THE 23 MART,                            )      Access by a Public Accommodation in
d/b/a PV GOLD PARTNERSHIP,                    )      Violation of the Americans with Disability
                                              )      Act of 1990 (“Title III” and “ADA”),
               Defendant.                     )      42 U.S.C. §§ 12181 ​et seq​.


       Plaintiff SPENCER NEAL Complains of Defendant J A G BLACK GOLD

MANAGEMENT COMPANY, doing business as THE 23 MART, also doing business as PV

GOLD PARTNERSHIP, and alleges as follows:

INTRODUCTION:

       1.      This is a civil rights action for discrimination against persons with physical

disabilities, of which plaintiff NEAL is a member of, for failure to remove architectural barriers

structural in nature at Defendant’s property, a place of public accommodation, thereby

discriminatorily denying plaintiff access to, the full and equal enjoyment of, opportunity to

participate in, and benefit from, the goods, facilities, services, and accommodations thereof.

NEAL seeks injunctive relief pursuant to the Americans with Disability Act of 1990 (​“​title III”

AND “ADA”), ​et sec.

       2.      NEAL is a person with physical disabilities who, on or about November 16, 2019

and November 17, 2019, was an invitee, guest, patron, or customer at Defendant’s property,



COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 1
 Case: 2:20-cv-00931-MHW-KAJ Doc #: 1 Filed: 02/20/20 Page: 2 of 16 PAGEID #: 2




which houses a gas station and retail store, THE 23 MART, located at 6301 South High Street,

Shadeville, Ohio 43137. At said time and place, Defendant failed to provide proper legal access

to the property, which is a public accommodation and/or public facility. The denial of access was

in violation of federal legal requirements, and NEAL suffered violations of his civil rights to full

and equal access and was physically injured, embarrassed and humiliated.

JURISDICTION AND VENUE:

        3.      Jurisdiction​: This Court has jurisdiction of this action pursuant to 28 U.S.C.

§1331 for violations of the Americans with Disabilities Act of 1990, 42 U.S.C. §12101, et seq.

        4.      Venue​: Venue is proper in this court pursuant to 28 U.S.C. §1391(b) and is

founded on the facts that the real property which is the subject of this action is located in this

district, in the City of Columbus, County of Franklin, State of Ohio and that NEAL’s causes of

action arose in this district.

PARTIES:

        5.      NEAL is a “physically handicapped person,” a “physically disabled person,” and

a “person with physical disabilities.” (Hereinafter the terms “physically disabled,” “physically

handicapped” and “person with physical disabilities” are used interchangeably, as these words

have similar or identical common usage and legal meaning.) NEAL is a “person with physical

disabilities,” as defined by all applicable United States laws. NEAL requires the use of a

wheelchair to travel about in public. Consequently, NEAL is a member of that portion of the

public whose rights are protected.

        6. Defendant J A G BLACK GOLD MANAGEMENT COMPANY, doing business as

THE 23 MART, also doing business as PV GOLD PARTNERSHIP, an Ohio Corporation,

COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 2
 Case: 2:20-cv-00931-MHW-KAJ Doc #: 1 Filed: 02/20/20 Page: 3 of 16 PAGEID #: 3




(alternatively referred to as “Defendant”) is the owner and operator, lessor and/or lessee, or agent

of the owner, lessor and/or lessee, franchisor and/or franchisee, of the building and/or buildings

which constitute a public facility in and of itself, occupied by THE 23 MART, located at 6301

South High Street, Shadeville, Ohio 43137 (hereinafter “the business”), and subject to the

requirements of the Americans with Disability Act of 1990 (​“TITLE III” AND “ADA”), 42.

U.S.C. §§ 12181 ​et seq.​, and to all other legal requirements referred to in this complaint.

       7. The business is open to the general public and conducts business therein. The

business operating on said premises is a public accommodation.

       8. At all times relevant to this complaint, Defendant is the landlord/lessor,

tenant/lessee and the owner and operator of the business. As such, Defendant is jointly and

severally responsible to identify and remove architectural barriers pursuant to Code of Federal

Regulations section 36.201(b), which states in pertinent part:


       § 36.201        General

                       (b) Landlord and tenant responsibilities. Both the landlord
                       who owns the building that houses a place of public
                       accommodation and the tenant who owns or operates the place of
                       public accommodation are public accommodations subject to the
                       requirements of this part. As between the parties, allocation of
                       responsibility for complying with the obligations of this part may
                       be determined by lease or other contract.

                       CFR §36.201(b)

       9. NEAL does not know the true names of Defendant, their business capacities,

their ownership connection to the property and business, nor their relative responsibilities in

causing the access violations herein complained of. NEAL is informed and believes that the



COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 3
 Case: 2:20-cv-00931-MHW-KAJ Doc #: 1 Filed: 02/20/20 Page: 4 of 16 PAGEID #: 4




Defendant herein is a public accommodation, and is the agent, ostensible agent, master, servant,

employer, employee, representative, franchisor, franchisee, partner, and associate, or such

similar capacity, of each of the other Defendants, if any, and was at all times acting and

performing, or failing to act or perform, within the course and scope of his, her or its authority as

agent, ostensible agent, master, servant, employer, employee, representative, franchiser,

franchisee, partner, and associate, or such similar capacity, and with the authorization, consent,

permission or ratification of each of the other Defendants, and is responsible in some manner for

the acts and omissions of the other Defendants in legally causing the violations and damages

complained of herein, and have approved or ratified each of the acts or omissions of each other

defendant, as herein described. NEAL may seek leave to amend when the true names, capacities,

connections, and responsibilities of Defendant are ascertained.

PRELIMINARY FACTUAL ALLEGATIONS:

       10. Defendant is the entity that is a public accommodation that owns, leases (or

leases to), or operates the business. The business and each of its facilities are places “of public

accommodation” subject to the requirements of the Americans with Disability Act of 1990

                                                       ​ n information and belief, said facility
(​“TITLE III” AND “ADA”), 42. U.S.C. §§ 12181 ​et seq. O

has undergone “alterations, structural repairs and additions,” each of which has subjected the

business to handicapped access requirements.

       11. NEAL is a person with a disability. NEAL is a “physically disabled

person,” as defined by all applicable United States laws. NEAL is paralyzed as a result of spina

bifida and requires the use of a wheelchair for mobility and to travel in public.

       12. At all times referred to herein and continuing to the present time, Defendant

COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 4
 Case: 2:20-cv-00931-MHW-KAJ Doc #: 1 Filed: 02/20/20 Page: 5 of 16 PAGEID #: 5




advertised, publicized and held out the business as being handicapped accessible and

handicapped usable.

       13. On or about November 16, 2019 and November 17, 2019, NEAL was an invitee and

guest at the business, arriving for purposes of purchasing fuel, food and drink.

       14. Upon his arrival, during his patronizing of the public accommodation, and upon his

exit of the facility, NEAL personally encountered architectural barriers which denied him the full

and equal access to the property.

       15. Therefore, at said time and place, NEAL, a person with a disability,

encountered the following inaccessible elements of the business which constituted architectural

barriers and a denial of the proper and legally required access to a public accommodation to

persons with physical disabilities. By way of example and not as an exhaustive inventory of

Defendant’s violations, the following barriers to access were personally encountered by NEAL:

               a. In the parking area, there are no accessible parking stalls in violation of 2010
                  ADAS Section: 208.2 and 1991 ADAS Section: 4.1.2(5)(a).

               b. In the parking area, there are no van accessible parking stalls in violation of
                  2010 ADAS Section: 208.2, 208.2.4.

               c. In the parking area, the accessible route is constructed such that a park vehicle
                  can obstruct the minimum 36 inch width in violation of 2010 ADAS Section:
                  502.7 and 1991 ADAS Section: 4.6.3.

               d. At the fueling area, the card reader, controls and key pads are located greater
                  than 54 inches above the accessible level area for each pump in violation of
                  2010 ADAS Section: 308.3.2 Exception 2.

               e. At the entrance, there is no ISA at this entrance in violation of 2010 ADAS
                  Section: 216.6 and 1991 ADAS Section: 4.1.2(7)(c).


COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 5
 Case: 2:20-cv-00931-MHW-KAJ Doc #: 1 Filed: 02/20/20 Page: 6 of 16 PAGEID #: 6




            f. At the entrance, the doormat is not secured in place at the entry door in
               violation of 2010 ADAS Section: 302.2 and 1991 ADAS Section: 4.5.3.

            g. At the interior accessible route, the route of travel throughout the store does
               not provide a minimum width of 36 inches in aisles and around merchandise
               in violation of 2010 ADAS Section: 403.5.1 and 1991 ADAS Section: 4.3.3.

            h. At the interior accessible route, the floormats are not secured in place
               throughout the store in violation of 2010 ADAS Section: 302.2 and 1991
               ADAS Section: 4.5.3.

            i. At the sales counter, carious merchandise, dispensers and vending is not
               accessible because there is not adequate clear floor space for either a forward
               or side approach in violation of 2010 ADAS Section: 305.3 and 1991 ADAS
               Section: 4.2.4.1.

            j. At the sales counter, the drinks dispensers are not accessible because they are
               located over an obstruction greater than 34 inches tall in violation of 2010
               ADAS Section: 308.3.2 and 1991 ADAS Section: 4.2.6.

            k. At the sales counter, all of the fountain machine and condiments are not
               accessible because there is not adequate clear floor space for an approach in
               violation of 2010 ADAS Section: 305.3 and 1991 ADAS Section: 4.2.4.1.

            l. At the sales counter, the fountain machine controls are too high and out of the
               maximum reach range for a side approach in violation of 2010 ADAS Section:
               308.3.2.

            m. At the sales counter, the transaction counter is too high in violation of 2010
               ADAS Section: 904.4.2, 904.4.1 and 1991 ADAS Section: 7.2(1).

            n. At the restroom, the maneuvering space on the pull side of the door or gate
               does not adequately extend beyond the latch side of the door in violation of
               2010 ADAS Section: 404.2.4.1 and 1991 ADAS Section: 4.13.6.

            o. At the restroom, the maneuvering clearance at the door is obstructed in
               violation of 2010 ADAS Section: 404.2.4.1 and 1991 ADAS Section: 4.13.6.


COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 6
 Case: 2:20-cv-00931-MHW-KAJ Doc #: 1 Filed: 02/20/20 Page: 7 of 16 PAGEID #: 7




              p. At the restroom, a compliant room identification sign is missing on the strike
                 side of the door in violation of 2010 ADAS Section: 216.2 and 1991 ADAS
                 Section: 4.30.6.

              q. In the restroom, the restroom is missing the International Symbol of
                 Accessibility (ISA) in violation of 2010 ADAS Section: 216.8 and 1991
                 ADAS Section: 4.1.3(1).

              r. In the restroom, the restroom lacks the clear floor and/or turning space within
                 the restroom in violation of 2010 ADAS Section: 603.2.1 and 1991 ADAS
                 Section: 4.22.3.

              s. In the restroom, the lavatory projects into the clear floor space required for the
                 toilet in violation of 2010 ADAS Section: 604.3.2.

              t. In the restroom, the rear grab bar is missing in violation of 2010 ADAS
                 Section: 609.4 and 1991 ADAS Section: 4.16.4.

              u. In the restroom, the side grab bar is missing in violation of 2010 ADAS
                 Section: 609.4 and 1991 ADAS Section: 4.16.4.

              v. In the restroom, the required 56 inches by 60 inches clear floor space for the
                 water closet has been obstructed by the trash can in violation of 2010 ADAS
                 Section: 604.3.1 and 1991 ADAS Section: 4.16.2.

              w. In the restroom, the paper towel dispenser's operation mechanism is too high
                 off the floor in violation of 2010 ADAS Section: 308.2.1.

              x. In the restroom, the mirror is mounted too high in violation of 2010 ADAS
                 Section: 603.3.

              y. In the restroom, compliant knee space has not been provided under the
                 lavatory in violation of 2010 ADAS Section: 306.3.1.

       16. The discriminatory violations described in ¶ 15 are not an exclusive list of the

Defendant’s violations. NEAL requires the inspection of the Defendant’s place of public


COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 7
 Case: 2:20-cv-00931-MHW-KAJ Doc #: 1 Filed: 02/20/20 Page: 8 of 16 PAGEID #: 8




accommodation in order to photograph and measure all of the discriminatory acts violating the

Americans with Disability Act of 1990 (​“​title III” AND “ADA”), 42. U.S.C. §§ 12181 ​et seq.

        17. At all times stated herein, the existence of architectural barriers at Defendant’s

place of public accommodation evidenced “actual notice” of Defendant’s intent not to comply

with the Americans with Disability Act of 1990 (​“​title III” and “ADA”), 42. U.S.C. §§ 12181 ​et

seq.​, either then, now or in the future.

        18. As a legal result of Defendant’s failure to act as a reasonable and prudent public

accommodation in identifying, removing or creating architectural barriers, policies, practices and

procedures that denied access to NEAL and other persons with disabilities, NEAL suffered

damages as alleged herein.

        19. As a further legal result of the actions and failure to act of Defendant, and as a

legal result of the failure to provide proper handicapped-accessible public facilities as set forth

herein, NEAL was denied his civil rights to full and equal access to public facilities. NEAL

suffered a loss of his civil rights and his rights as a person with physical disabilities to full and

equal access to public facilities, and further suffered from physical injury, shame, humiliation,

embarrassment, anger, chagrin, disappointment and worry, expectedly and naturally associated

with a person with physical disabilities being denied access, all to his damages as prayed

hereinafter in an amount within the jurisdiction of this court.

        20. NEAL is “physically handicapped,” “physically disabled,” or a “person with physical

disabilities” who was denied his rights to equal access to a public facility by Defendant.

Defendant maintained a public establishment without access for persons with physical

disabilities as stated herein, and continues as of the date of filing this complaint to deny equal

COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 8
 Case: 2:20-cv-00931-MHW-KAJ Doc #: 1 Filed: 02/20/20 Page: 9 of 16 PAGEID #: 9




access to NEAL and other persons with physical disabilities in these and other ways.

        21. On information and belief, construction alterations carried out by Defendant have

triggered access requirements under Americans with Disability Act of 1990 (​“TITLE III” AND

“ADA”), 42. U.S.C. §§ 12181 ​et seq.

        22. NEAL, as described herein below, seeks injunctive relief to require the business to be

made accessible to meet the requirements of the Americans with Disabilities Act, so long as

Defendant operates and/or leases the business as a public facility.

        23. On information and belief, Defendant has been negligent in its affirmative duty

to identify the architectural barriers complained of herein and negligent in the removal of some

or all of said barriers.

        24. Because of Defendant’s violations, NEAL and other persons with physical

disabilities are unable to use public facilities such as those owned and operated by Defendant on

a “full and equal” basis unless such facility is in compliance with the provisions of the

Americans with Disabilities Act. NEAL seeks an order from this court compelling Defendant to

make the business accessible to persons with disabilities.

        25. NEAL is informed and believes and therefore alleges that Defendant caused the

subject property to be constructed, altered and maintained in such a manner that persons with

physical disabilities were denied full and equal access to, within and throughout said facility of

the business and were denied full and equal use of said public facility. Further, on information

and belief, Defendant has continued to maintain and operate said facility in such conditions up to

the present time, despite actual and constructive notice to such Defendant that the configuration

of the establishment and/or its building(s) is in violation of the civil rights of persons with

COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 9
Case: 2:20-cv-00931-MHW-KAJ Doc #: 1 Filed: 02/20/20 Page: 10 of 16 PAGEID #: 10




physical disabilities, such as NEAL and the disability community. Such construction,

modification, ownership, operation, maintenance and practices of such public facilities are in

violation of law as stated in the Americans with Disability Act of 1990 (“TITLE III” AND

“ADA”), 42. U.S.C. §§ 12181 ​et seq.

       26. On personal knowledge, information and belief, the basis of Defendant’s actual

and constructive notice that the physical configuration of the facilities including, but not limited

to, architectural barriers constituting the business was in violation of the civil rights of persons

with physical disabilities, such as NEAL, includes, but is not limited to, communications with

invitees and guests, owners of other establishments and businesses, notices Defendant obtained

from governmental agencies upon modification, improvement, or substantial repair of the subject

premises and other properties owned by the Defendant, newspaper articles and trade publications

regarding the Americans with Disabilities Act and other access laws, public service

announcements, and other similar information. Defendant’s failure, under state and federal law,

to make the establishment accessible is further evidence of Defendant’s conscious disregard for

the rights of NEAL and other similarly situated persons with disabilities. The scope and means of

the knowledge of Defendant are within Defendant’s exclusive control and cannot be ascertained

except through discovery. Despite being informed of such effect on NEAL and other persons

with physical disabilities due to the lack of accessible facilities, Defendant knowingly and

willfully refused to take any steps to rectify the situation and to provide full and equal access for

NEAL and other persons with physical disabilities to the establishment. Said Defendant has

continued such practices, in conscious disregard for the rights of NEAL and other persons with

physical disabilities, up to the date of filing of this complaint, and continuing thereon.

COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 10
Case: 2:20-cv-00931-MHW-KAJ Doc #: 1 Filed: 02/20/20 Page: 11 of 16 PAGEID #: 11




       27. NEAL will return to THE 23 MART to purchase fuel, food and drink, if the business

made fully accessible to a disabled person in a wheelchair, and to also avail himself of the

business’ services. Furthermore, Mr. NEAL intends to return to the business as an ADA tester on

an annual basis, beginning in 2020, in order to ascertain whether Defendant removed the barriers

to access which are the subject of this litigation.

I.     FIRST CAUSE OF ACTION FOR DENIAL OF ACCESS BY A PUBLIC
       ACCOMMODATION IN VIOLATION OF THE AMERICANS WITH
       DISABILITIES ACT OF 1990 (42 U.S.C. §12101, ​et seq​.)

       33.     NEAL pleads and incorporate by reference, as if fully set forth again herein,

the allegations contained in paragraphs 1 through 27 of this complaint.

       34.     Pursuant to law, in 1990, the United States Congress made findings per 42 U.S.C.

§12101 regarding persons with physical disabilities, finding that laws were needed to more fully

protect:

               some 43 million Americans with one or more physical or mental
               disabilities; [that] historically society has tended to isolate and
               segregate individuals with disabilities; [that] such forms of
               discrimination against individuals with disabilities continue to be a
               serious and pervasive social problem; [that] the nation’s proper
               goals regarding individuals with disabilities are to assure equality
               of opportunity, full participation, independent living and economic
               self-sufficiency for such individuals; [and that] the continuing
               existence of unfair and unnecessary discrimination and prejudice
               denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free
               society is justifiably famous.

       35.     Congress stated as its purpose in passing the Americans with Disabilities Act of

1990 (42 U.S.C. §12102):

               It is the purpose of this act (1) to provide a clear and
               comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities; (2) to provide
COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 11
Case: 2:20-cv-00931-MHW-KAJ Doc #: 1 Filed: 02/20/20 Page: 12 of 16 PAGEID #: 12




               clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; (3) to ensure
               that the Federal government plays a central role in enforcing the
               standards established in this act on behalf of individuals with
               disabilities; and (4) to invoke the sweep of Congressional
               authority, including the power to enforce the 14th Amendment and
               to regulate commerce, in order to address the major areas of
               discrimination faced day to day by people with disabilities.

       36.     As part of the Americans with Disabilities Act of 1990, (hereinafter the “ADA”),

Congress passed “Title III - Public Accommodations and Services Operated by Private Entities”

(Section 301 42 U.S.C. §12181, ​et seq​.). Among the public accommodations identified for

purposes of this title was:

               (7) PUBLIC ACCOMMODATION - The following private
               entities are considered public accommodations for purposes of this
               title, if the operations of such entities affect commerce -
               ***
               (B)​ ***​ or other establishment serving food or drink;
               ***
               (F) ***gas station ***.

               42 U.S.C. §12181(7)(B)(F).

       37.     Pursuant to §302, 42 U.S.C. §12182, “No individual shall be discriminated

against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,

privileges, advantages, or accommodations of any place of public accommodation by any person

who owns, leases, or leases to, or operates a place of public accommodation.”

       38.     The specific prohibitions against discrimination set forth in §302(b)(2)(a),

42 U.S.C. §12182(b)(2)(a) are:

               (i) the imposition or application of eligibility criteria
               that screen out or tend to screen out an individual with a disability
               or any class of individuals with disabilities from fully and equally
               enjoying any goods, services, facilities, privileges, advantages, or
               accommodations, unless such criteria can be shown to be
COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 12
Case: 2:20-cv-00931-MHW-KAJ Doc #: 1 Filed: 02/20/20 Page: 13 of 16 PAGEID #: 13




               necessary for the provision of the goods, services, facilities,
               privileges, advantages, or accommodations being offered;

               (ii) a failure to make reasonable modifications in
               policies, practices, or procedures, when such modifications are
               necessary to afford such goods, services, facilities, privileges,
               advantages or accommodations to individuals with disabilities,
               unless the entity can demonstrate that making such modifications
               would fundamentally alter the nature of such goods, services,
               facilities, privileges, advantages, or accommodations;

               (iii) a failure to take such steps as may be necessary to
               ensure that no individual with a disability is excluded, denied
               services, segregated or otherwise treated differently than other
               individuals because of the absence of auxiliary aids and services,
               unless the entity can demonstrate that taking such steps would
               fundamentally alter the nature of the good, service, facility,
               privilege, advantage, or accommodation being offered or would
               result in an undue burden;

               (iv) a failure to remove architectural barriers, and
               communication barriers that are structural in nature, in existing
               facilities . . . where such removal is readily achievable; and

               (v) where an entity can demonstrate that the removal of
               a barrier under clause (iv) is not readily achievable, a failure to
               make such goods, services, facilities, privileges, advantages or
               accommodations available through alternative methods if such
               methods are readily achievable.

The acts of Defendant set forth herein were a violation of NEAL’s rights under the ADA, 42.

U.S.C. §§ 12181 ​et seq.

       39.     The removal of the barriers complained of by NEAL as hereinabove alleged

was at all times after January 26, 1992 “readily achievable” as to the business pursuant to 42

U.S.C. §12182 (b)(2)(A)(i)-(iv). On information and belief, if the removal of all the barriers

complained of herein together was not “readily achievable,” the removal of each individual

barrier complained of herein was “readily achievable.” On information and belief, Defendant’s

COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 13
Case: 2:20-cv-00931-MHW-KAJ Doc #: 1 Filed: 02/20/20 Page: 14 of 16 PAGEID #: 14




failure to remove said barriers was likewise due to discriminatory practices, procedures and

eligibility criteria, as defined by §302(b)(2)(a)(i)-(iii); 42 U.S.C. §12182 (b)(2)(A)(i).

       40.     Per §301(9), 42 U.S.C. §12181 (9), the term “readily achievable” means “easily

accomplishable and able to be carried out without much difficulty or expense.” The statute

defines relative “expense” in part in relation to the total financial resources of the entities

involved. NEAL alleges that properly repairing, modifying, or altering each of the items that

plaintiff complains of herein were and are “readily achievable” by the Defendant under the

standards set forth under §301(9) of the Americans with Disabilities Act. Further, if it was not

“readily achievable” for Defendant to remove each of such barriers, Defendant has failed to

make the required services available through alternative methods which were readily achievable.

       41.     On information and belief, construction work on, and modifications of, the

business occurred after the compliance date for the Americans with Disabilities Act, January 26,

1992, independently triggering access requirements under Title III of the ADA.

       42.     Pursuant to the Americans with Disabilities Act of 1990, 42 U.S.C. §12188, ​et

seq​., §308, NEAL is entitled to the remedies and procedures set forth in §204(a) of the Civil

Rights Act of 1964, 42 U.S.C. 2000(a)-3(a), as plaintiff is being subjected to discrimination on

the basis of disability in violation of this title or have reasonable grounds for believing that

he is about to be subjected to discrimination in violation of §302. NEAL cannot return to or

make use of the public facilities complained of herein so long as the premises and Defendant’s

policies bar full and equal use by persons with physical disabilities.

       43.     Per §308(a)(1) (42 U.S.C. 12188), “Nothing in this section shall require a person

with a disability to engage in a futile gesture if such person has actual notice that a person or

COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 14
Case: 2:20-cv-00931-MHW-KAJ Doc #: 1 Filed: 02/20/20 Page: 15 of 16 PAGEID #: 15




organization covered by this title does not intend to comply with its provisions.” Pursuant to this

last section, NEAL has not returned to Defendant’s premises since on or about November 16,

2019 and November 17, 2019, but on information and belief, alleges that Defendant has

continued to violate the law and deny the rights of plaintiff and of other persons with physical

disabilities to access this public accommodation. Pursuant to §308(a)(2), “In cases of violations

of §302(b)(2)(A)(iv) . . . injunctive relief shall include an order to alter facilities to make such

facilities readily accessible to and usable by individuals with disabilities to the extent required by

this title.”

         44.    NEAL seeks relief pursuant to remedies set forth in §204(a) of the Civil Rights

Act of 1964 (42 U.S.C. 2000(a)-3(a)), and pursuant to federal regulations adopted to implement

the Americans with Disabilities Act of 1990, including but not limited to an order granting

injunctive relief and attorneys’ fees. NEAL will seek attorneys’ fees conditioned upon being

deemed to be the prevailing party.

         Wherefore, plaintiff prays for relief as hereinafter stated.

PRAYER:

         Wherefore, NEAL prays that this court grant relief and damages as follows:

I.       PRAYER FOR FIRST CAUSE OF ACTION FOR DENIAL OF ACCESS BY A
         PUBLIC ACCOMMODATION IN VIOLATION OF THE AMERICANS WITH
         DISABILITIES ACT OF 1990 (42 U.S.C. §1 2101, et seq.)

         1.     For injunctive relief, compelling Defendant to make the business readily

accessible to and usable by individuals with disabilities; and to make reasonable modifications in

policies, practice, eligibility criteria and procedures so as to afford full access to the goods,

services, facilities, privileges, advantages and accommodations being offered.

COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 15
Case: 2:20-cv-00931-MHW-KAJ Doc #: 1 Filed: 02/20/20 Page: 16 of 16 PAGEID #: 16




       2.      For attorneys’ fees, litigation expenses and costs of suit, if NEAL is deemed

the prevailing party; and

       3.      For such other and further relief as the court may deem proper.


                                     Respectfully submitted,

                                     BLAKEMORE, MEEKER & BOWLER CO., L.P.A.

                                     /s/ ​COLIN G. MEEKER
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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 16
